Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 1 of 9 PageID #: 20119




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                §
                                           §
                                           §
          Plaintiffs,                      §
                                           §
 v.                                        §    Civil Action No. 4:20-cv-00957-SDJ
                                           §
 GOOGLE LLC,                               §
                                           §
                                           §
          Defendant.                       §




  JOINT MOTION PURSUANT TO RULE 16(B) TO MODIFY SCHEDULING ORDER
    TO PROVIDE BRIEF EXTENSIONS OF EXPERT DISCOVERY PERIOD AND
              SUMMARY JUDGMENT/DAUBERT DEADLINES

      The parties jointly move to modify certain deadlines in the Court’s Rule 16 Scheduling Order,

ECF No. 562, to resolve scheduling conflicts that have arisen for Google due to the impending

trial of the U.S. Department of Justice’s Sherman Act antitrust case against Google that begins in

the Eastern District of Virginia on September 9, 2024.

        For the reasons stated below, Plaintiffs and Defendant Google respectfully submit that

good cause exists under Federal Rule of Civil Procedure 16 to modify the scheduling order as set

forth in the table below:
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 2 of 9 PageID #: 20120




    Due Date and Task           Current Schedule             Agreed Revised              Explanation for
                                                                Deadline                 Proposed Date
                                                                                       Compared to Current
                                                                                            Schedule

                                                          9/91 (as requested by
 Plaintiffs’ Rebuttal                8/27 or 9/3                Plaintiffs)           This provides a uniform
 Reports                                                                             date for all rebuttal expert
                                                                                         reports, which may
                                                                                       reference one another,
                                                                                     and avoids the Labor Day
                                                                                              Holiday.


 Close Expert                      10/5 or 10/12                    11/1              Extends expert discovery
 Discovery                                                                                to two weeks after
                                                                                        expected conclusion of
                                                                                      trial in Eastern District of
                                                                                                Virginia


 Summary Judgment                        11/9                       11/18               6 days extra (current
 and Daubert Motions                                                                    deadline of 11/9 is a
 due                                                                                  Saturday and so actual
                                                                                     deadline is 11/12 because
                                                                                     11/11 is a federal holiday)


 Oppositions to                         11/30                       12/9                 7 days extra (current
 Summary Judgment                                                                       deadline of 11/30 is a
 and Daubert Motions                                                                    Saturday and so actual
                                                                                           deadline is 12/2).


 Replies to Summary                     12/14                       12/23                7 days extra (current
 Judgment and                                                                           deadline of 12/14 is a
 Daubert Motions                                                                        Saturday and so actual
                                                                                          deadline is 12/16).



In support of this joint requested extension, the parties argue as follows:


1
    The parties have agreed that Plaintiffs will also provide expert backup materials on September 9.


                                                            2
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 3 of 9 PageID #: 20121




                                    STANDARD OF REVIEW

        Rule 16(b)(4) provides that a court may modify a scheduling order “only for good cause

and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “The good cause standard requires the

‘party seeking relief to show that the deadlines cannot reasonably be met despite the diligence of

the party needing the extension.’” S & W Enterprises, L.L.C. v. SouthTrust Bank of Ala., N.A., 315

F.3d 533, 535 (5th Cir. 2003) (quoting Wright & Miller, Fed’l. Prac. & Procedure §1522 (2d ed.

1990)). In assessing good cause, the Court considers: “(1) the explanation for the failure to timely

comply with the scheduling order, (2) the importance of the modification, (3) potential prejudice

in allowing the modification; and (4) the availability of a continuance to cure such prejudice.”

Squyres v. Heico Companies, LLC, 782 F.3d 224, 237 (5th Cir. 2015) (cleaned up).


                                  RELEVANT BACKGROUND

        As the Court is aware, a trial of related Sherman Act claims involving Google’s AdTech

business is presently set to commence in the Eastern District of Virginia on September 9, 2024.

That trial is not expected to end until October 18, 2024. The Virginia trial spans most of the expert

discovery period established in this Court’s Scheduling Order, which is currently set to end on

October 12, 2024. See ECF No. 562.

        Five of the expert witnesses Google has designated to testify on its behalf in this case will

also be testifying in the Eastern District of Virginia trial. They cannot be in two places at once, nor

can they reasonably appear for deposition before this Court’s October 12, 2024 expert discovery

period expires. Separate from this, Plaintiffs have sought—and Google does not oppose—an

extension of their deadlines to provide a uniform date to submit all of their rebuttal reports, shifting

the due date of certain reports from August 27 and September 3 to a uniform date of September 9,

2024.



                                                   3
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 4 of 9 PageID #: 20122




                                           ARGUMENT

  I.   Good Cause Exists to Modify the Scheduling Order to Extend Expert Discovery and
       Related Motion Deadlines.

       All parties agree that good cause exists to seek a modification of the Scheduling Order

deadlines to extend, by just a few weeks, the relevant dates for expert discovery and related

Daubert and summary judgment motion as set forth in the chart above. No extension is sought of

other deadlines to submit the Joint Pretrial Order, nor does either party seek a trial continuance.

Rather, as shown below, this extension is sought to afford all parties adequate time to conclude

expert discovery—given the scheduling conflict presented by the Virginia trial—and incorporate

those materials in motions they expect to present to the Court.

       Plaintiffs have requested an additional (and uniform) date to submit their rebuttal expert

reports, moving that out to September 9, 2024. Google does not oppose this request. For its part,

Google has sought a similarly brief extension of the expert discovery period to ensure that five of

its expert witnesses who are testifying in the Eastern District of Virginia trial can be presented for

deposition after that trial concludes on October 18, 2024. This extension is necessary because

Google’s expert witnesses cannot be in two places at once.

       To address this shared reality, and to ensure the testimony of all experts can be incorporated

in the parties’ contemplated Daubert and summary judgment motions, all parties have agreed to

the brief additional extensions of relevant deadlines indicated in the chart above. This proposal

does not prejudice either side, nor does it seek any extension of deadlines to file the Joint Pretrial

Order or a continuance of the trial date. To the contrary, this agreed extension—if granted by the

Court—affords all parties adequate time to: a) depose relevant experts (after the Virginia trial

where those experts are testifying concludes), b) synthesize the information from expert

depositions and, c) prepare appropriate motions.



                                                  4
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 5 of 9 PageID #: 20123




       The parties agree that all four of the factors used to assess whether good cause exists to

modify a Rule 16 Scheduling Order are also present here. First, “the explanation,” Squyres, 782

F.3d at 237, for the requested extension is compelling. The five witnesses whose testimony

prompted Google to seek an extension are each scheduled to testify in the Eastern District of

Virginia trial during the period set for expert discovery in this case. See, e.g., Stobie Creek

Investments, LLC v. United States, 82 Fed. Cl. 636, 657 (2008) (recounting court’s agreement to

extend trial setting by five months because “one of [defendant’s] expert witnesses was scheduled

to testify before the United States District Court for the District of Colorado on dates that

conflicted”). Though Google has some control over the order in which it will call each of these

five experts to the stand in its defense in Virginia, it cannot predict on exactly what date its trial

defense case will begin or, as a result, exactly on when these experts will testify (or conclude) their

testimony in the Virginia trial–further complicating the scheduling of their depositions in the case

pending here.

       Second, while the parties seek a relatively brief extension of relevant deadlines, granting

that extension is profoundly “important.” See id. An extension is essential to ensure Google is not

prejudiced by compelling it to present witnesses in Texas while those same witnesses are on

standby, preparing to testify, and/or testifying on Google’s behalf at a trial in Virginia. The third

and fourth factors are also met, because there is neither any potential prejudice, nor any need to

mitigate prejudice through a trial continuance, see id., because affording both parties a few weeks’

delay in presenting these witnesses for deposition—while affording Plaintiffs a brief and uniform

extension of the date on which their rebuttal reports are due—will not have a domino effect. The

parties have agreed that witnesses who are not testifying in Virginia will be made available, where

possible, during the existing discovery period so that the depositions of these five witnesses do not




                                                  5
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 6 of 9 PageID #: 20124




create a logjam in the period of the extension. This extension also affords all parties ample time to

complete expert depositions in 2024, long before this case is set for trial in 2025. The

commensurate extension of the motion deadlines likewise allows all parties to incorporate the

testimony of these experts in their Daubert and summary judgment motions if they wish.

       In sum, this is not a circumstance in which either party is seeking to designate experts after

the Court’s deadline, see Reliance Insurance Co. v. Louisiana Land & Exploration Co., 110 F.3d

253, 257 (5th Cir. 1997), or where one party or the other sought an extension of time after the

scheduling order expired.

       To the contrary, what the parties have agreed to do here is to implement a mutually agreed,

cooperative, timely, and brief extension of the expert discovery period and related motion

deadlines for the sole purpose of ensuring that Google has adequate time to present—and Plaintiffs

have adequate time to complete—the depositions of Google’s expert witnesses after they testify at

trial on Google’s behalf in the Eastern District of Virginia. This joint motion also grants relief

Plaintiffs sought (and that Google did not oppose); namely, the establishment of a uniform,

September 9, 2024 date for the submission of all of their rebuttal expert reports, moving the date

for Plaintiffs’ reports out for a time period similar to the other deadlines.

                                          CONCLUSION

       For all these reasons, good cause exists to extend the period of expert discovery and related

motion deadlines to the dates the parties have jointly proposed. A Proposed Order reflecting this

agreed extension of the Scheduling Order deadlines has been filed concurrently for the Court’s

convenience.




                                                   6
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 7 of 9 PageID #: 20125




Dated: August 22, 2024              Respectfully submitted,

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                                      7
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 8 of 9 PageID #: 20126




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                                               8
Case 4:20-cv-00957-SDJ Document 607 Filed 08/22/24 Page 9 of 9 PageID #: 20127




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                                 CERTIFICATE OF SERVICE

       I certify that on August 22, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

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                                              9
